                                                  THE HONORABLE MARY JO HESTON
 1                                                CHAPTER 13
                                                  HEARING DATE: September 5, 2019
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                                                  HEARING TIME: 1:00 P.M.
 3                                                LOCATION: Tacoma, Washington
                                                  RESPONSE DATE: August 29, 2019
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 9                         IN THE UNITED STATES BANKRUPTCY COURT FOR
                       THE WESTERN DISTRICT OF WASHINGTON AT TACOMA
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11
      In re:                                      Case No.: 18-43461-MJH
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      NORA JANE CALDWELL,                         NOTICE OF HEARING AND MOTION TO
13                                                APPROVE COMPROMISE AND AUTHORIZE
                                                  DISBURSEMENTS
14                                      Debtor.
15

16                                                NOTICE

17             YOU ARE HEREBY NOTIFIED that a hearing on Trustee’s Motion to Approve

18   Compromise and Authorize Disbursements will be heard before the Honorable Mary Jo Heston

19   at 1:00 p.m. on September 5, 2019, at the Union Station, 1717 Pacific Avenue, Tacoma, Wa.,
20   98402, Courtroom H.
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               IF YOU OPPOSE this motion, you must file your written response with the Court Clerk
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     and deliver copies on the undersigned and all interested parties, NOT LATER THAN THE
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     RESPONSE DATE, which is August 29, 2019. You should also appear at the time of hearing.
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                                                                                   Michael G. Malaier
                                                                           Chapter 13 Standing Trustee
     NOTICE OF HEARING AND MOTION TO                                            2122 Commerce Street
     APPROVE COMPROMISE - 1                                                       Tacoma, WA 98402
                                                                                       (253) 572-6600
     If you fail to do so, the Court may enter an order granting the motion without any hearing and
 1
     without further notice.
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 3                                               MOTION

 4          COMES NOW, Michael G. Malaier, the Standing Chapter 13 Trustee, (“Trustee”) by

 5   and through his attorney, Matthew J.P. Johnson, and moves the Court for an order approving the

 6   compromise of the claims in complaint filed under Adversary Number 19-04021-MJH.
 7                                           BACKGROUND
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            Debtor filed a petition for relief under Title 11, chapter 13, or the United State Code on
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     October 13, 2018. On April 18, 2019, Trustee filed a complaint for recovery of $17,131.50
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     from LendingClub Corporation (“LendingClub”) under 11 U.S.C. § 547. LendingClub filed an
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     answer denying the allegations in the complaint, and raising various affirmative defenses.
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            The parties have agreed to a settlement of $9,000.00 to be paid within thirty days of the
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     date of the order approving settlement. See attached Exhibit A. The parties wish to settle this
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     agreement due to the limited amount of funds in controversy compared with the time and cost for
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16   litigation of this issue. Further, LendingClub has raised defenses and provided documents

17   indicating that the loan may have been canceled prior to disbursement. Due to the uncertainty of

18   outcome for either party, the parties believe that the settlement $9,000.00 is fair and reasonable.

19          LendingClub will have an allowed claim pursuant to 11 U.S.C. § 502(h), after receipt of
20   the settlement funds by the trustee. The adversary proceeding will be dismissed with prejudice;
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     provided, however, that the adversary case may be reopened to address any issues that arise in
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     the implementation of the settlement. A copy of the settlement agreement is attached hereto as
23
     Exhibit A.
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25
                                                                                      Michael G. Malaier
                                                                              Chapter 13 Standing Trustee
     NOTICE OF HEARING AND MOTION TO                                               2122 Commerce Street
     APPROVE COMPROMISE - 2                                                          Tacoma, WA 98402
                                                                                          (253) 572-6600
                                                AUTHORITY
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            The court has great latitude in approving compromise agreements and may approve a
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 3
     compromise if it is “fair and equitable.” In re Woodson, 839 F. 2nd 619, 620 (9th Cir. 1988). An

 4   order approving a compromise will be upheld absent abuse of discretion. In re A & C

 5   Properties, 784 F. 2nd 1977 (9th Cir. 1986). To determine whether a compromise is fair and

 6   equitable, the court should consider the probability of success in the litigation, the difficulties to
 7   be encountered in collection, the litigations’ complexity and its attendant expense, inconvenience
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     and delay, and the paramount interest of the creditors with a proper deference to their reasonable
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     views. In re MGS Marketing, 111 B.R. 264 (9th Cir. BAP 1990); In re Woodson, supra; In re A
10
     & C Properties, supra.
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            A compromise should be approved if the trustee establishes to the reasonable satisfaction
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     of the court that it is prudent to eliminate the risks and delays of litigation to achieve certainty
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     rather than a possible ultimate recovery. In re Central Ice Cream Co., 59 B.R. 476, 487-488
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     (Bankr. N.D. Ill. 1985). The court’s responsibility is to canvass the issues and see whether the
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16   settlement “falls below the lowest point in the range of reasonableness.” In re Heissinger

17   Resources Ltd., 67 B.R. 378, 383 (C.D. Ill, 1986)( citing, In re W.T. Grant Co., 699 F.2nd 599,

18   608 (2nd Cir. 1983)).

19          Trustee believes that the settlement is reasonable and fair and satisfies the factors set
20   forth in In re A & C Properties, 784 F. 2nd 1977 (9th Cir. 1986).
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                                                                                        Michael G. Malaier
                                                                                Chapter 13 Standing Trustee
     NOTICE OF HEARING AND MOTION TO                                                 2122 Commerce Street
     APPROVE COMPROMISE - 3                                                            Tacoma, WA 98402
                                                                                            (253) 572-6600
            WHEREFORE, the Trustee requests that the Court approve the settlement and authorize
 1
     disbursements as set forth above.
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 3
            DATED this 7th day of August 2019, by:

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 5                                                   /s/ Matthew J.P. Johnson
                                                     Matthew J.P. Johnson, WSBA #40476
 6                                                   Attorney for
                                                     Michael G. Malaier, Chapter 13 Trustee
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                                     CERTIFICATE OF MAILING

10          I certify under penalty of perjury under the laws of the United States I caused to be
     mailed via regular mail a true and correct copy of Motion to Approve Settlement and Proposed
11
     Order all creditors, Debtor and Debtor’s Attorney listed on the attached mailing matrix
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13          The following parties received notice via ECF:

14          •Manish Borde
            •Ellen Brown
15          •United States Trustee

16          Executed at Tacoma, Washington this 7th day of August, 2019.
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                                                        /s/ Tracy Maher
19                                                      Tracy Maher
                                                        Motion Coordinator for
20                                                      Chapter 13 Trustee

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                                                                                   Michael G. Malaier
                                                                           Chapter 13 Standing Trustee
     NOTICE OF HEARING AND MOTION TO                                            2122 Commerce Street
     APPROVE COMPROMISE - 4                                                       Tacoma, WA 98402
                                                                                       (253) 572-6600
